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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE
 8
     UNITED STATES OF AMERICA,                             NO. CR10-73-MJP
 9
                                    Plaintiff,
10
             v.                                            SUMMARY REPORT OF
11                                                         U.S. MAGISTRATE JUDGE AS
12   JOSEPH ALEXANDER RAMSAY                               TO ALLEGED VIOLATIONS
                                                           OF SUPERVISED RELEASE
13                                  Defendant.

14

15           An evidentiary hearing on a petition for violation of supervised release in this case was

16   scheduled before the undersigned Magistrate Judge on March 25, 2010. The United States was

17   represented by Assistant United States Attorney Todd Greenberg, and the defendant by Ken

18   Kanev. The proceedings were digitally recorded.

19           The defendant had been charged and convicted in the United States District Court for

20   the Central District of California at Santa Ana. On or about June 4, 2007, defendant was

21   placed on supervision by the Honorable David O. Carter, who fixed the period of supervision

22   at five years.

23           In a Petition on Probation and Supervised Release (Bench Warrant) dated December

24   19, 2008, U.S. Probation Officer Sharon Lesure asserted the following violations by defendant

25   of the conditions of his supervised release:

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     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 1
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 1          1.     In compliance with the order that he participate in outpatient drug treatment,

 2                 Mr. Ramsay was referred for participation in the drug testing and treatment

 3                 program at Mental Health Systems, Inc. (MHS). Subsequent to his enrollment,

 4                 on November 14, 18, 19, 20, 21, 24, 25, 2008, he failed to report for random

 5                 drug testing.

 6          2.     Having been instructed by the Probation Officer to submit written monthly

 7                 reports within the first five days of each month, Mr Ramsay failed to submit a

 8                 written monthly report for the month of November 2008.

 9          3.     Having been instructed by the Probation Officer to report change in residence

10                 within 72 hours, on or about November 24, 2008, Mr. Ramsay changed his

11                 place of residence and failed to notify the Probation Officer of such change.

12          4.     Having been instructed by the Probation Officer on December 3, 2008, to report

13                 in person on December 4, 2008, at the U.S. Probation Office, 290 North D

14                 Street, San Bernardino, California, Joseph Ramsay failed to report as directed.

15          5.     Having been ordered by the Court to participate in the home confinement

16                 program with electronic monitoring for a period of three months, on or about

17                 December 3, 2008, Mr. Ramsay was unsuccessfully discharged from the home

18                 confinement program.

19          6.     On November 12, 2008, Mr. Ramsay was arrested by officers of the

20                 Vice/Narcotics Unit Corona Police Department for possession of

21                 methamphetamine, in violation of Section 11377(a) H&S of the California

22                 Penal Code: Possession of more than one ounce of marijuana, in violation of

23                 11357(c) H&S and for possession of marijuana for sale, in violation of Section

24                 11359 H&S of the California Penal Code.

25          On February 17, 2010, defendant made his initial appearance. The defendant was

26   advised of the allegations and advised of his rights. On March 25, 2010, this matter came


     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 2
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 1   before the Court for an evidentiary hearing. Defendant admitted to violations 1, 2, 3, 4, 5 and

 2   6.

 3          I therefore recommend that the Court find the defendant to have violated the terms and

 4   conditions of his supervised release as alleged in violations 1, 2, 3, 4, 5 and 6, and that the

 5   Court conduct a hearing limited to disposition. A disposition hearing on these violations has

 6   been set before the Honorable Marsha J. Pechman on June 25, 2010 at 2:15 p.m.

 7          Pending a final determination by the Court, the defendant has been detained.

 8          DATED this 25th day of March, 2010.
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                                                    A
                                                    JAMES P. DONOHUE
11                                                  United States Magistrate Judge

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14   cc:    District Judge:                 Honorable Marsha J. Pechman
            AUSA:                           Todd Greenberg
15          Defendant’s attorney:           Ken Kanev

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     SUMMARY REPORT OF U.S. MAGISTRATE
     JUDGE AS TO ALLEGED VIOLATIONS OF
     SUPERVISED RELEASE - 3
